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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



FRIENDS OF THE BOUNDARY
WATERS WILDERNESS, et al.,                               Case No. 19‐CV‐2493 (PJS/LIB)

             Plaintiffs,

v.                                                             ORDER OF DISMISSAL

U.S. ARMY CORPS OF ENGINEERS, et al.,

             Defendants.



      Based upon the Stipulation for Dismissal filed by the parties on October 19, 2023

[ECF No. 165],

      IT IS ORDERED that this action is dismissed without prejudice and without costs

or disbursements to any party.




Dated: October 19, 2023

                                                     s/Patrick J. Schiltz
                                                     Patrick J. Schiltz, Chief Judge
                                                     United States District Court
